       Case 1:21-cv-02265-APM Document 159-4 Filed 08/10/22 Page 1 of 4


From:              Denae Kassotis
To:                Jesse Binnall
Cc:                Joshua Margolin; Edward Caspar; Matt Dummermuth; Molly McCann; Shawn Flynn; Shawnay
Subject:           RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)
Date:              Monday, August 1, 2022 5:28:00 PM


Counsel –

We intend to proceed with the Rule 26(f) conference. We believe proceeding with the conference is
in the best interest of all parties, including your clients. We have provided you with dial-in
information and hope that you will attend.

Many thanks,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9062 [O]
+1 914.560.6228 [M]


From: Jesse Binnall <jesse@binnall.com>
Sent: Monday, August 1, 2022 12:46 PM
To: Denae Kassotis <dkassotis@selendygay.com>
Cc: Joshua Margolin <jmargolin@selendygay.com>; Edward Caspar
<ecaspar@lawyerscommittee.org>; Matt Dummermuth <matt@binnall.com>; Molly McCann
<molly@binnall.com>; Shawn Flynn <Shawn@binnall.com>; Shawnay <shawnay@binnall.com>
Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel:

Since there are motions to stay and for protective orders pending, please postpone the
conference until after these motions are decided.

Thank you.

On Mon, Aug 1, 2022 at 9:16 AM Denae Kassotis <dkassotis@selendygay.com> wrote:

  Counsel,

  Below please find updated dial-in information for the Rule 26(f)/LCvR 16.3 conference, which will
  be held on August 8th from 1-3pm ET.

  Many thanks in advance,
  Denae
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_______________________________________________________________________________
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Phone Conference ID: 710 165 341#
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Learn More | Meeting options
_______________________________________________________________________________
_




Denae Kassotis
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Selendy Gay Elsberg PLLC [Web]
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From: Jesse Binnall <jesse@binnall.com>
Sent: Wednesday, June 29, 2022 10:19 AM
To: Denae Kassotis <dkassotis@selendygay.com>
Cc: Joshua Margolin <jmargolin@selendygay.com>; Edward Caspar
<ecaspar@lawyerscommittee.org>; Matt Dummermuth <matt@binnall.com>; Molly McCann
<molly@binnall.com>; Shawn Flynn <Shawn@binnall.com>; Shawnay <shawnay@binnall.com>
Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel:


I am confused by your correspondence of June 22, 2022 seeking a Rule 26(f)
Conference when the Court has yet to rule on the pending motions to dismiss,
which of course includes President Trump’s defense of absolute immunity. As I
am sure you are aware, the Supreme Court has been quite clear: “until a threshold
immunity question is resolved, discovery should not be allowed.” Harlow v.
Fitzgerald, 457 U.S. 800, 818 (1982); see also Crawford-El v. Britton, 523 U.S. 574,
598 (1998) (requiring that district courts resolve immunity disputes before allowing
discovery to proceed). If you believe this firmly entrenched precedent is somehow
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inapplicable to this dispute, please explain why. Otherwise, we can revisit the
issue of discovery after the immunity issue has been fully and finally resolved.

Best Regards,

Jesse Binnall


On Wed, Jun 22, 2022 at 4:09 PM Denae Kassotis <dkassotis@selendygay.com> wrote:
     Counsel,

     Please see the attached correspondence.

     Many thanks,

     Denae Kassotis
     Associate [Email]
     Selendy Gay Elsberg PLLC [Web]
     Pronouns: she, her, hers
     ----------------------------------------------
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     +1 914.560.6228 [M]




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